         Case 1:07-cr-00051-RLY-KPF
         Case 1:07-cr-00051-RLY-DKL Document
                                     Document112-1
                                               113 (Court
                                                     Filedonly)
                                                           01/17/12
                                                                 Filed Page 1 of 2Page
                                                                       01/13/12    PageID
                                                                                       1 of#:3
                                              112
                                         PageID #: 109
                         ! "#$               %&'(' 


                                                %)*+(**+()* )!*!                                                  *
                                                                                ,
                                                              Southern District of Indiana
                                                            ----------(----------

                            . 
                                                                                   
                               Anthony Steele                                      
                                                                                        ! %/ 1:07CR00051-003
                                                                                          %/ 08562-028
( '0. /                                   02/29/2008            
(  .  0. /                                                       None
    8VH'DWHRI/DVW$PHQGHG-XGJPHQWLI$Q\                                             'HIHQGDQW¶V$WWRUQH\


                       25'(55(*$5',1*027,21)256(17(1&(5('8&7,21
                                38568$177286& F 
          1. ✔  u ,    u , ( , 2  u ,     !
"#$ ,  ..1. .1 &  '    ,,
& 3 '4& '5  .   &4,      !..1  !
"667,   ,.78, 1'4 .  , 9" 2 :
,    ,   ! "#$$#7,  ; ,, 4 11'&' 7
,7,625'(5(',, ./
           ✔ (+%)+(  u 9 %*+(,   <1 '4.1    .1.  DVUHIOHFWHGLQ
           u
WKHODVWMXGJPHQWLVVXHG                     .,LVUHGXFHGWR
                                                     &RPSOHWH3DUWV,DQG,,RI3DJHZKHQPRWLRQLVJUDQWHG




             A CERTIFIED TRUE COPY
             Laura A. Briggs, Clerk
             U.S. District Court
             Southern District of Indiana

             By
                                      Deputy Clerk



+; 1, 5 1  7''1 , =.                                                            ,'' .  
,7,66225'(5('

 ( /                01/17/2012
                                                                                                                 -XGJH¶VVLJQDWXUH


+  ( /                                        The Honorable Richard L. Young
                          LIGLIIHUHQWIURPRUGHUGDWH                                                         3ULQWHGQDPHDQGWLWOH



> ' , 5  7,     , ,''&   :4   
Case 1:07-cr-00051-RLY-KPF
Case 1:07-cr-00051-RLY-DKL Document
                            Document112-1
                                      113 (Court
                                            Filedonly)
                                                  01/17/12
                                                        Filed Page 2 of 2Page
                                                              01/13/12    PageID
                                                                              3 of#:3
                                     113
                                PageID #: 111


 Addendum to Order Pursuant to 18 U.S.C. § 3582(c)

           1:07CR00051-003
 Cause No. _____________________

           Anthony Steele
 Defendant _____________________


 As directed by 18 U.S.C. ' 3582(c)(2), the Court has considered the relevant factors in U.S.S.G. '
 1B1.10(b) and 18 U.S.C. ' 3553(a), and determined a sentence reduction is not appropriate for the
 following reason(s):

 _____ 1) The defendant is not eligible for a reduction because the amendments listed in
       subsection (c) of U.S.S.G. ' 1B1.10 are not applicable to the defendant.

   ✔ 2) The amendment is listed in subsection (c) of U.S.S.G. ' 1B1.10 and is applicable to the
 _____
       defendant, but it does not have the effect of lowering the defendant=s applicable guideline
       range (e.g. a statutory mandatory minimum term of imprisonment, binding plea agreement,
       career offender status).

 _____ 3) The defendant is eligible for a reduction under this amendment, but the Court has
       determined such a reduction is not appropriate because of the nature and seriousness of the
       danger to any person or the community that may be posed by a reduction in sentence.
       (Application Note 1(B) of U.S.S.G. ' 1B1.10.)

 _____ 4) The defendant is eligible for a reduction under this amendment. However, the Court
       has determined the post-sentencing conduct demonstrates the defendant may pose a danger
       to any person or the community by a reduction in sentence. (Application Note 1(B) of
       U.S.S.G. ' 1B1.10.)

   ✔
 _____ 5) Other (explain)

        ________________________________________________________________________
        The defendant received the mandatory minimum sentence authorized by statute.

        ________________________________________________________________________

        ________________________________________________________________________

        ________________________________________________________________________
